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Attorneys for Plaintiff, SCANNING TECHNOLOGIES INNOVATIONS LLC

                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH

SCANNING TECHNOLOGIES                 §
INNOVATIONS LLC,                      §
                                      §
      Plaintiff,                      §                    Case No: 2:21-cv-00347-DAO
                                      §
vs.                                   §                    PATENT CASE
                                      §
FISHBOWL SOLUTIONS, LLC,              §
                                      §
      Defendant.                      §
_____________________________________ §


              NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff Scanning Technologies Innovations, LLC (“Plaintiff” or “STI”) files this Notice

of Voluntary Dismissal With Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff without order of



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court by filing a notice of dismissal at any time before service by the adverse party of an answer.

Accordingly, Plaintiff hereby voluntarily dismisses this action against Defendant Fishbowl

Solutions, LLC with prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own fees

and costs.

Dated: August 16, 2021                           Respectfully submitted,

                                                 /s/ Geoffrey E. Dobbin
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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true copy of the foregoing was filed electronically
and served by operation of the Court’s electronic filing system on August 16, 2021. Parties may
access the foregoing through the Court’s system.

                                                 /s/ Geoffrey E. Dobbin
                                                 Geoffrey E. Dobbin




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